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                                                                                    Filed 13 June 11 P4:22
                                                                                    Chris Daniel - District Clerk
                                                                                    Hams County
                           2013-34787 /Court: 133                                   ED101J017537358
                                                                                    By: Nelson Cuero
                                       CAUSE NO.

Jason Fetter                                               IN THE DISTRICT COURT OF

       Plaintiff,

             v.                                            HARRIS COUNTY,TEXAS

 Maersk Line, Limited

       Defendant.                                                JUDICI~DISTRICT

                         P                                 PE

       Plaintiff Jason Fetter brings this action complaini~~f Defendant Maersk Line,
                                                       0
 Limited and would respectfully show the Court that: ~O~

                                                   I.
                                                          O~
                                           Jurisdic
        1.        The claims asserted herein ar~~der the common law of Texas and general

 maritime law. This Court has jurisdictioncause Defendant maintains its principal place of

 business in Harris County, Texas. ~~er,the case is not removable because Defendants are

 citizens of Texas since their prin~l place of business is in Texas.
                              ~~
                              O                    II.
                          O~                  Venue
        2.        Venueroper
                     DU~     in this County because Defendant Maersk Line, Limited does

 a substantial am       of business here and has a principal place of business in Houston.
             ~~
                                                   III.
                                              Parties
        4.        Plaintiff resides in New York.

        5.        Defendant Maersk Line, Limited ("Maersk") is a Delaware corporation.

 Maersk is registered to do business in Texas and, in fact, conducts a substantial amount of


                                                                                         Exhibit
                                                                                           A
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business in this County and maintains a principal place of business here. Maersk may be

served through its registered agent: CT Corporation System, 350 N. St. Paul St., Ste, 2900,

 Dallas, Texas 75201.

                                                 IV.
                                         Nature of the Action
       6.     This lawsuit is necessary as a result of personal injuries ~laintiff received

 on or about October 9, 2012. On or about this date, Plaintiff BustO 'severe injuries while

 working on the M/V MAERSK MONTANA, a vessel whiclr0~~s' owned, operated and/or

 managed by Defendant. While the vessel was deployed                 avigable waters, Plaintiff was
                                                              o~
 working on the engine with others when a chain sed,recoiled, and violently struck
                                                    O~
 plaintiff's face, neck, and shoulder. As a resulto~efendant's negligence, Plaintiff injured
                                                        ~O
 his face (including multiple fractures, a larg~ation,and permanent nerve damage), neck,

 and shoulder, and other parts of his body.~~

        7.     Defendant was r                   negligent per se for the following reasons:

               a.       failure to            supervise its crew;

               b.       failure,           ly train its employees;

                                   to provide adequate safety equipment;

                               ing the vessel with an inadequate crew;

                        failure to maintain the vessel;

                        vicariously liable for its employees' negligence;

                        violating applicable Coast Guard, OSHA,and/or other regulations;

                        violating its Section 905(b) duties; and

                        other acts deemed negligent.
                                                    2
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        8.     At all relevant times, the vessel was unseaworthy.

        9.     As a result of said occurrences, Plaintiff sustained severe injuries to his body,

 which resulted in physical pain, mental anguish, and other medical problems. Plaintiff has

 sustained severe pain, physical impairment, discomfort, mental anguish, and distress. In all

 reasonable probability, Plaintiff's physical pain, physical impairment ar~~~ental anguish

 will continue indefinitely. Plaintiff has also suffered a loss of earnin~,s~the past, as well as

 a loss of future earning capacity. Plaintiff has incurred and wi~~ur pharmaceutical and

 medical expenses in connection with his injuries. Plaintiff h~~e damaged in a sum far in

 excess ofthe minimum jurisdictional limits ofthis Hono~~       Court, for which he now sues.

                                                V.    O~
                                           Ju    T
        10.     Plaintiff hereby requests a tria~~~~ry on all claims.

                                           ~~I.
                                       ~~ Prayer
        Plaintiff prays that this cO ~ issue and be served upon Defendant in a form and

 manner prescribed by law, reO 'ring that the Defendant appear and answer, and that upon

 final hearing, Plaintiff   v~~udgment against Defendant in a total sum in excess of the

 minimum jurisdictio~imits of this Court, plus prejudgment and postjudgment interests,

 all costs of Cou~J~~torneys' fees, punitive damages, and all such other and further relief, to

 which he m~~iow himselfjustly entitled.




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                                  Respectfully submitted,

                                  ARNOLD & ITHIN LLP

                                  /s/ Cai D. Boatri~ht
                                   Caj D~ Boatright
                                   State Bar No. 24036237      0~
                                   Michael E. Pierce         ~0~
                                   State Bar No. 24039117 ~
                                   Ryan M. Grant         oQ~
                                   State Bar No.240555
                                   5 Houston Center
                                   1401 McKinney ~~e~t, Suite 2550
                                   Houston, Texas     10
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                                   Facsimile:( 1222-3850

                                   ATTO~TEYS FOR PLAINTIFF




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